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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 Jennifer Baker and Jean Greenberg, as
 representatives of a class of similarly situated       Case No. 1:20-cv-10397-RGS
 persons, and on behalf of the Investment-
 Incentive Plan for John Hancock Employees,

                         Plaintiffs,
 v.

 John Hancock Life Insurance Company
 (U.S.A.) and the John Hancock US Benefits
 Committee,

                         Defendants.


         (PRQP9SIB9) ORDER ON PLAINTIFFS' MOTION FOR APPROVAL OF
      ATTORNEYS' FEES AND COSTS, ADMINISTRATIVE EXPENSES, AND CLASS
                      REPRESENTATIVE SERVICE AWARDS

        This matter came before the Court on a Fairness Hearing on September 29, 2021. During

the Fairness Hearing, the Court considered, among other things, Plaintiffs' Motion for Approval

of Attorneys' Fees and Costs, Administrative Expenses, and Class Representative Service Awards.

This motion is unopposed by Defendants. Having considered the motion papers, the proposed

Class Action Settlement Agreement which the Court preliminarily approved on June 2, 2021 and

has now finally approved, the arguments of counsel, and all files, records, and proceedings in this

action, and otherwise being fully informed in the premises as to the facts and the law,

        It is hereby ORDERED as follows:

        1.       Class Counsel's request for an award of $3,500,000 in attorneys' fees is approved.

Having reviewed Class Counsel's application and all applicable legal authorities, the Court finds

the requested amount of fees (one-fourth of the $14 million Settlement Fund) to be reasonable and

appropriate.


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       2.        Class Counsel's request for litigation expenses in the amount of $38,475.13 and

settlement administration expenses in the amount of $85,087 is approved. The Court has reviewed

these expenses and finds that they are reasonable and appropriate given the nature of this action.

        3.       Plaintiffs' request for class representative service awards in the amount of $10,000

each ($20,000 total) to Plaintiffs Jennifer Baker and Jean Greenberg is approved. The Court finds

these awards to be justified under the facts of this case and consistent with applicable legal

authorities.

        IT IS SO ORDERED.



                                                 "chardG. Stearns
                                               United States District Judge




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